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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MAINE



JADEN BROWN,                                     )
An individual,                                   )
                                                 )
       Plaintiff                                 )
                                                 )
       v.                                        )
                                                 )
CUMBERLAND COUNTY,                               )
a Municipal Corporation                          )
organized and existing under the laws            )
of the State of Maine;                           )
KEVIN JOYCE individually and as Sheriff          )      Docket 20-CV-
of Cumberland County; TIMOTHY KORTES )
individually and as an employee of the Cumberland)
County Sheriff’s Department; MARK RENNA )
individually and as an Employee of the           )
Cumberland County Sheriff’s Department;          )
SAM DICKEY individually and as                   )
an employee of the Cumberland County Sheriff’s )
Department; Deputy BRADY individually and as )
an employee of the Cumberland County Sheriff’s )
Department; Deputy HASKELL, individually and )
as an employee of the Cumberland County          )
Sheriff’s Department;                            )
                                                 )
       Defendants                                )


      NOW COMES Plaintiff, Jaden Brown, an individual, by and through

counsel, Sarah A. Churchill, Esq., and complains against Defendants as follows:

                                JURISDICTION
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     1.     This action arises under 42 United States Code (U.S.C.) §§ 1983,

1985, and 1988; the First, Fourth, Fifth, Eighth and Fourteenth Amendments to the

United States Constitution; Article 1 §§ 1, 6, 6-A and 9 of the Maine Constitution;

5 M.R.S.A. § 4682 (the Maine Civil Rights Act); 15 M.R.S.A. § 704; 30-A

M.R.S.A. §1582 and 14 M.R.S.A. § 8101 et seq. (the Maine Tort Claims Act).

     2.     This Honorable Court has original jurisdiction of Plaintiff’s

Complaint pursuant to 28 U.S.C. §§ 1331 and 1343.

     3.     This Honorable Court may exercise supplemental jurisdiction over

related state law claims pursuant to 28 U.S.C. § 1367.

     4.     This Honorable Court wields jurisdiction over each Defendant named

herein pursuant to 14 M.R.S.A. § 704-A in that each Defendant is domiciled in the

State of Maine.

                                      VENUE

     5.     Venue is properly before this Court pursuant to 28 U.S.C. § 1391 and

Rule 9(a) of the rules of the United States District Court for the District of Maine

in that all acts complained of occurred in Cumberland County, Maine.

                                    PARTIES

     6.     Plaintiff, Jaden Brown, is a citizen of the United States and a resident

of the State of Maine, residing in Androscoggin County.




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      7.    Defendant Kevin Joyce was at all times referred to herein Sheriff of

Cumberland County.

      8.    The Sheriff of Cumberland County is responsible for running the

Cumberland County Jail.

      9.    Defendant Joyce is responsible for the training, supervision, and

conduct of Defendant officers, as more fully set forth below.

      10.   Defendant Joyce is further responsible for enforcing the regulations of

the Cumberland County Sheriff’s Department, making and enforcing police

department policies that protect the constitutional rights of citizens, and for

ensuring that the correctional officers of the Cumberland County Jail obey the

laws of the State of Maine and the United States of America.

      11.   Defendant Joyce is further responsible for ensuring that all inmates

received appropriate medical care in compliance with the laws of the State of

Maine and the United States Constitution.

      12.   Defendant County of Cumberland is a political subdivision of the

State of Maine and is a member of the Maine County Commissioners’ Association

Risk Pool which provides coverage for claims such as those mentioned herein.

      13.   The Cumberland County Jail is a correctional facility organized under

the administration of the laws of Cumberland County, the State of Maine and the

United States.



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        14.   Defendant Major Timothy Kortes was at all times referred to herein

the head administrator of the Cumberland County Jail.

        15.   Defendant Kortes’ supervisory responsibilities include oversight of

the corrections division of the Cumberland County Jail.

        16.   Defendant Kortes is responsible for the training, supervision, and

conduct of Defendant officers, as more fully set forth below.

        17.   Defendant Kortes is further responsible for enforcing the regulations

of the Cumberland County Sheriff’s Department, making and enforcing jail and

correctional policies that protect the constitutional rights of citizens, and for

ensuring that the correctional officers of the Cumberland County Jail obey the

laws of the State of Maine and the United States of America.

        18.   Defendant Kortes is further responsible for ensuring that all inmates

received appropriate medical care in compliance with the laws of the State of

Maine and the United States Constitution.

        19.   Defendant Kortes is also a policy maker for the Cumberland County

Jail.

        20.   Defendant Mark Renna was at all was at all times mentioned herein a

duly appointed and acting as a corrections officer at the Cumberland County Jail

in Cumberland County Maine.




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     21.    At all times herein Defendant Mark Renna was acting in the capacity

of agent, servant, and employee of Cumberland County.

     22.    Defendant Sam Dickey was at all was at all times mentioned herein a

duly appointed and acting as a corrections officer at the Cumberland County Jail

in Cumberland County Maine.

     23.    At all times herein Defendant Sam Dickey was acting in the capacity

of agent, servant, and employee of Cumberland County.

     24.    Defendant Deputy Brady, a female corrections officer, was at all was

at all times mentioned herein a duly appointed and acting as a corrections officer

at the Cumberland County Jail in Cumberland County Maine.

     25.    At all times herein Defendant Deputy Brady was acting in the

capacity of agent, servant, and employee of Cumberland County.

     26.    Defendant Deputy Haskell, a male corrections officer, was at all was

at all times mentioned herein a duly appointed and acting as a corrections officer

at the Cumberland County Jail in Cumberland County Maine.

     27.    At all times herein Defendant Deputy Haskell was acting in the

capacity of agent, servant, and employee of Cumberland County.

     28.    The conduct of defendants joining, severally, individually, and in their

representative capacities, in allowing a custom and practice of inadequately

treating the known mental health concerns of inmates caused grievous injury to



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Plaintiff and deprived her of her rights, privileges and immunities under the

Constitution of the United States and the State of Maine.

      29.     Plaintiff sues all the defendants in their individual, as well as official

capacities.

                              STATEMENT OF FACTS

      30.     In July of 2018 Plaintiff turned herself in on an outstanding warrant of

arrest at the Cumberland County Jail.

      31.     The warrant of arrest was for a probation violation.

      32.     Plaintiff was sentenced to serve a total of 15 months in the

Cumberland County Jail for the violation of probation in July of 2018.

      33.     Plaintiff was pregnant at the time she turned herself into the

Cumberland County Jail.

      34.     Plaintiff was transferred from the main jail to the Prerelease center

prior to December of 2018.

      35.     The Prerelease Center is across a parking lot from the main jail.

      36.     Inmates who are housed at the Prerelease Center are still in the

custody of the Cumberland County Jail at all times.

      37.     On or about December 29th other inmates at the Prerelease Center

complained to corrections officers that Plaintiff was threatening to turn the

inmates in for using drugs.



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      38.    These complaints were unfounded in that Plaintiff had not threatened

these inmates but Plaintiff in fact had reported the inmates for using drugs at the

Prerelease Center.

      39.    As a result of the inmate complaints Defendants decided to return

Plaintiff to the main jail building.

      40.    In December of 2018 Plaintiff was 35 weeks along in her pregnancy

and visibly pregnant.

      41.    Defendants were aware Plaintiff was pregnant during the entire time

relevant to this complaint.

      42.    On December 29th or 30th Defendant Renna was charged with taking

Plaintiff from the Prerelease Center back to the main jail.

      43.    Plaintiff was hand cuffed by Defendant Renna while visibly pregnant

and walked across the parking lot back to the main jail.

      44.    At no time did Plaintiff pose a safety or a security risk to Defendant

Renna or any other person.

      45.    Handcuffing Plaintiff in this manner was in violation of 30-A

M.R.S.A. §1582.

      46.    Defendant Renna was supervised at this time by Lieutenant William

Brady.




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      47.    At some point in time Defendant Renna realized he had violated jail

policy, but not the statute, by handcuffing Plaintiff and reported this matter to Lt.

Brady.

      48.    Lt. Brady failed to make his supervisors aware of Defendant Renna’s

violation and signed off on an inaccurate report of Plaintiff’s transfer back to the

main jail by failing to note that handcuffs were applied to Plaintiff.

      49.    Defendant Joyce was not made aware of the incident involving

Defendant Renna and Plaintiff until February of 2019 when alerted to the incident

by Plaintiff’s counsel.

      50.    This was not the first time that deputies and supervisory staff at the

Cumberland County Jail had violated 30-A M.R.S.A. §1582 by applying

handcuffs to a pregnant inmate.

      51.    On February 11, 2019 Plaintiff was still an inmate at Cumberland

County Jail when she went into active labor.

      52.    Plaintiff was transported to Maine Medical Center with corrections

officers to give birth to her child.

      53.    Plaintiff was not allowed to have any family in the labor and deliver

room with her at Maine Medical Center.




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      54.    Male and female corrections officers who were employed by

Defendant Cumberland County were present in the labor and delivery room

throughout the 20 hours Plaintiff was actively birthing her child.

      55.    The presence of the corrections officers was not at the request from

medical professionals and Plaintiff did not pose an escape or security risk during

this time.

      56.    Specifically Defendant Deputy Brady and Defendant Dickey were

present in the labor and delivery room when Plaintiff’s child was born.

      57.    Defendants Brady and Dickey both saw Plaintiff and her child’s naked

and exposed bodies.

      58.    During her labor corrections officers from the jail were freely coming

and going from Plaintiff’s room using their cell phones, joking that Plaintiff

should name her child after the jail and drinking coffee.

      59.    Defendants Haskell, Dickey, and Brady were all present in the labor

and delivery room without Plaintiff’s permission during the birth of her child.

      60.    The presence of corrections officers in the labor and delivery room

without Plaintiff’s permission or the request of medical personnel is a violation of

30-A M.R.S.A. §1582.

      61.    Plaintiff did not pose a security risk or danger to anyone while she

was a patient at Maine Medical Center during her child’s birth.



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      62.    Defendant Joyce and Kortes have admitted that the Cumberland

County Jail staff violated 30-A M.R.S.A. §1582 in their treatment of Plaintiff.

      63.    Defendant Joyce is the chief policy maker for the Cumberland County

Sheriff’s Department.

      64.    Defendant Joyce is responsible for training and supervision of

Defendants Dickey, Brady, Haskell and Renna, and failed in his duty to either

train or supervise the Defendants as they were acting in their capacity as

corrections officers.

      65.    Defendant Kortes is a policy maker for the Cumberland County

Sheriff’s Department.

      66.    Defendant Kortes is responsible for training and supervision of

Defendants Dickey, Brady, Haskell and Renna, and failed in his duty to either

train or supervise the Defendants as they were acting in their capacity as

corrections officers.

      67.    Defendant Cumberland County is also responsible for the training and

supervision of the correctional officers and failed in its duty to either train or

supervise the Defendants as they were acting in their capacity as corrections

officers.




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      68.     Defendant Cumberland County has a pattern and practice of failing

to provide adequately train and supervise police officers as they are

constitutionally required.

      69.    As a result of the actions of Defendants Plaintiff has suffered injuries

including but not limited to: anxiety; embarrassment; shame; and degradation.

                                      COUNT I

                        VIOLATION OF 42 U.S.C. § 1985

      70.    Plaintiff herein incorporates each and every allegation and averment

contained in the paragraphs listed above as fully set forth herein.

      71.    Defendants acted in concert and agreed to commit acts against the

Plaintiff to deny the protections guaranteed by the Fourth, Fifth, Eighth and

Fourteenth Amendments to the United States Constitution.

      72.    Specifically, the actions of Lt. Brady in covering up for the violations

of Defendant Renna and the failure to train and supervise officers regarding their

obligations for treatment of pregnant inmates are specific acts done in concert in

furtherance of this conspiracy.

      73.    Defendants’ actions inflicted a wrong and/or injury upon Plaintiff that

resulted in damages.

      74.    Defendants’ actions showed a deliberate, malicious, reckless, or

callous disregard of, or indifference to, the rights of Plaintiff.



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      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendants, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of fact

sufficient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

Defendants in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law. See 42

U.S.C. § 1988.

      e.     Such further relief as the Court deems proper and just.

                                      COUNT II

           VIOLATION OF 42 U.S.C. § 1983 – DEFENDANT RENNA

      75.    Plaintiff herein incorporates each and every allegation and averment

contained in the paragraphs listed above as fully set forth herein.

      76.    Defendant Renna unreasonably and/or intentionally committed acts

and/or omissions while acting under color of state law that violated Plaintiff’s

clearly established rights to bodily integrity, to be free from perpetration of

constitutional violations by corrections officers, and her right to an action to



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pursue a claim for the deprivation of these rights as enumerated by the Eight and

Fourteenth Amendment to the United States Constitution and Plaintiff’s analogous

rights under the Maine Constitution.

      77.    Defendant Renna unreasonably and/or intentionally committed acts

and/or omissions while acting under the color of state law that violated Plaintiff’s

clearly established right to due process as enumerated by the Fourteenth

Amendment to the United States Constitution and Plaintiff’s analogous rights

under the Maine Constitution.

      78.    A reasonable person would have known that the acts and/or omission

committed by Defendant Renna violated Plaintiff’s rights as guaranteed by the

Fourteenth Amendment to the United States Constitution.

      79.    The unlawfulness of Defendant Renna’s acts and/or omissions was

apparent at the time they were committed in light of pre-existing law.

      80.    Defendant Renna’s actions showed a deliberate, malicious, reckless,

or callous disregard of, or indifference to, the rights of Plaintiff.

      81.    Defendants were aware of the risks to Plaintiff’s personal safety.

      82.    Defendants disregarded the risks to Plaintiff’s personal safety.

      83.    Defendants failed to take reasonable measures to protect Plaintiff’s.

      84.    Plaintiff suffered harm as a result of Defendants actions.




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      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of fact

sufficient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

Defendant in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law. See 42

U.S.C. § 1988.

      e.     Such further relief as the Court deems proper and just.

                                      COUNT III

           VIOLATION OF 42 U.S.C. § 1983 – DEFENDANT DICKEY

      85.    Plaintiff herein incorporates each and every allegation and averment

contained in the paragraphs listed above as fully set forth herein.

      86.    Defendant Dickey unreasonably and/or intentionally committed acts

and/or omissions while acting under color of state law that violated Plaintiff’s

clearly established rights to bodily integrity, to be free from perpetration of

constitutional violations by corrections officers, and her right to an action to



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pursue a claim for the deprivation of these rights as enumerated by the Eight and

Fourteenth Amendment to the United States Constitution and Plaintiff’s analogous

rights under the Maine Constitution.

      87.    Defendant Dickey unreasonably and/or intentionally committed acts

and/or omissions while acting under the color of state law that violated Plaintiff’s

clearly established right to due process as enumerated by the Fourteenth

Amendment to the United States Constitution and Plaintiff’s analogous rights

under the Maine Constitution.

      88.    A reasonable person would have known that the acts and/or omission

committed by Defendant Dickey violated Plaintiff’s rights as guaranteed by the

Fourteenth Amendment to the United States Constitution.

      89.    The unlawfulness of Defendant Dickey’s acts and/or omissions was

apparent at the time they were committed in light of pre-existing law.

      90.    Defendant Dickey’s actions showed a deliberate, malicious, reckless,

or callous disregard of, or indifference to, the rights of Plaintiff.

      91.    Defendants were aware of the risks to Plaintiff’s personal safety.

      92.    Defendants disregarded the risks to Plaintiff’s personal safety.

      93.    Defendants failed to take reasonable measures to protect Plaintiff’s.

      94.    Plaintiff suffered harm as a result of Defendants actions.




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      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of fact

      sufficient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

      Defendant in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

      law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law. See 42

      U.S.C. § 1988.

      e.     Such further relief as the Court deems proper and just.

                                    COUNT IV

           VIOLATION OF 42 U.S.C. § 1983 – DEFENDANT BRADY

      95.    Plaintiff herein incorporates each and every allegation and averment

contained in the paragraphs listed above as fully set forth herein.

      96.    Defendant Brady unreasonably and/or intentionally committed acts

and/or omissions while acting under color of state law that violated Plaintiff’s

clearly established rights to bodily integrity, to be free from perpetration of

constitutional violations by corrections officers, and her right to an action to



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pursue a claim for the deprivation of these rights as enumerated by the Eight and

Fourteenth Amendment to the United States Constitution and Plaintiff’s analogous

rights under the Maine Constitution.

      97.    Defendant Brady unreasonably and/or intentionally committed acts

and/or omissions while acting under the color of state law that violated Plaintiff’s

clearly established right to due process as enumerated by the Fourteenth

Amendment to the United States Constitution and Plaintiff’s analogous rights

under the Maine Constitution.

      98.    A reasonable person would have known that the acts and/or omission

committed by Defendant Brady violated Plaintiff’s rights as guaranteed by the

Fourteenth Amendment to the United States Constitution.

      99.    The unlawfulness of Defendant Brady’s acts and/or omissions was

apparent at the time they were committed in light of pre-existing law.

      100. Defendant Brady’s actions showed a deliberate, malicious, reckless,

or callous disregard of, or indifference to, the rights of Plaintiff.

      101. Defendants were aware of the risks to Plaintiff’s personal safety.

      102. Defendants disregarded the risks to Plaintiff’s personal safety.

      103. Defendants failed to take reasonable measures to protect Plaintiff’s.

      104. Plaintiff suffered harm as a result of Defendants actions.




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      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

      a.    An amount of damages deemed reasonable by the trier of fact

      sufficient to compensate Plaintiff.

      b.    Punitive damages in an amount sufficient to punish and deter

      Defendant in the future from engaging in this form of malicious conduct.

      c.    An award of pre-judgment interest from the earliest date allowable by

      law at the highest rate allowable by law.

      d.    Costs and attorneys’ fees to the extent allowable by law. See 42

      U.S.C. § 1988.

      e.    Such further relief as the Court deems proper and just.

                                        COUNT V

           VIOLATION OF 42 U.S.C. § 1983 – DEFENDANT HASKELL

      105. Plaintiff herein incorporates each and every allegation and averment

contained in the paragraphs listed above as fully set forth herein.

      106. Defendant Haskell unreasonably and/or intentionally committed acts

and/or omissions while acting under color of state law that violated Plaintiff’s

clearly established rights to bodily integrity, to be free from perpetration of

constitutional violations by corrections officers, and her right to an action to



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pursue a claim for the deprivation of these rights as enumerated by the Eight and

Fourteenth Amendment to the United States Constitution and Plaintiff’s analogous

rights under the Maine Constitution.

      107. Defendant Haskell unreasonably and/or intentionally committed acts

and/or omissions while acting under the color of state law that violated Plaintiff’s

clearly established right to due process as enumerated by the Fourteenth

Amendment to the United States Constitution and Plaintiff’s analogous rights

under the Maine Constitution.

      108. A reasonable person would have known that the acts and/or omission

committed by Defendant Haskell violated Plaintiff’s rights as guaranteed by the

Fourteenth Amendment to the United States Constitution.

      109. The unlawfulness of Defendant Haskell’s acts and/or omissions was

apparent at the time they were committed in light of pre-existing law.

      110. Defendant Haskell’s actions showed a deliberate, malicious, reckless,

or callous disregard of, or indifference to, the rights of Plaintiff.

      111. Defendants were aware of the risks to Plaintiff’s personal safety.

      112. Defendants disregarded the risks to Plaintiff’s personal safety.

      113. Defendants failed to take reasonable measures to protect Plaintiff’s.

      114. Plaintiff suffered harm as a result of Defendants actions.




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      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of fact

      sufficient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

      Defendant in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

      law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law. See 42

      U.S.C. § 1988.

      e.     Such further relief as the Court deems proper and just.

                                      COUNT VI

           VIOLATION OF 42 U.S.C. § 1983 - DEFENDANT JOYCE

      115. Plaintiff herein incorporates each and every allegation and averment

contained in the paragraphs listed above as fully set forth herein.

      116. Defendant Joyce was at all times mentioned herein responsible as

Sheriff of Cumberland County for the recruitment, training, supervision, and

discipline of all other Defendants.




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      117. The constitutional and statutory violations of Plaintiff’s rights

committed by all other Defendants were caused by the acts and/or omissions of

Defendant Joyce, including, but not limited to, his grossly negligent policies,

customs and/or pattern of practice in recruitment, training, supervision, and

discipline of all other Defendants.

      118. Defendant Joyce’s acts and/or omissions amount to deliberate,

reckless or callous indifference to the constitutional rights of others, including

Plaintiff.

      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of fact

sufficient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

Defendant in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law. See 42

U.S.C. § 1988.

      e.     Such further relief as the Court deems proper and just.



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                                      COUNT VII

         VIOLATION OF 42 U.S.C. § 1983 – DEFENDANT KORTES

      119. Plaintiff herein incorporates each and every allegation and averment

contained in the paragraphs listed above as fully set forth herein.

      120. Defendant Kortes at all times mentioned herein responsible as Major

of the Cumberland County Sheriff’s Department for the recruitment, training,

supervision, and discipline of all other Defendants.

      121. The constitutional and statutory violations of Plaintiff’s rights

committed by all other Defendants were caused by the acts and/or omissions of

Defendant Kortes, including, but not limited to, his grossly negligent policies,

customs and/or pattern of practice in recruitment, training, supervision, and

discipline of all other Defendants.

      122. Defendant Kortes’ acts and/or omissions amount to deliberate,

reckless or callous indifference to the constitutional rights of others, including

Plaintiff.




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      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of fact

sufficient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

Defendant in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law. See 42

U.S.C. § 1988.

      e.     Such further relief as the Court deems proper and just.

                                      COUNT VIII

     VIOLATION OF 42 U.S.C. § 1983 – DEFENDANT CUMBERLAND

                                       COUNTY

      123. Plaintiff herein incorporates each and every allegation and averment

contained in the paragraphs listed above as fully set forth herein.

      124. The policy, customs and practices of Cumberland County and its

policy makers comprise the cause of and the moving force behind the

constitutional violations at issue in this complaint.



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      125. At all relevant times Defendant Joyce and Defendant Kortes were the

policy makers within the Cumberland County Sheriff’s Department hierarchy.

      126. At all relevant times, Defendant Joyce, Defendant Kortes and

Cumberland County acquiesced in a custom, policy, or practice that violates

clearly established constitutional rights.

      127. Defendant Cumberland County’s policies and customs caused the

deprivation of Plaintiff’s clearly established constitutional and statutory rights and

are tantamount to reckless, callous, or deliberate indifference to the rights of

Plaintiff.

      128. Defendant Cumberland County’s actions showed a malicious,

reckless, or callous disregard of, or indifference to, the rights of Plaintiff.

      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendant, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of fact

sufficient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

Defendant in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.



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      d.     Costs and attorneys’ fees to the extent allowable by law. See 42

U.S.C. § 1988.

      e.     Such further relief as the Court deems proper and just.




                                      COUNT XI

                    VIOLATION OF MAINE CIVIL RIGHTS

                              ACT 5 M.R.S.A. § 4682

      129. Plaintiff herein incorporates each and every allegation and averment

contained in the paragraphs listed above as fully set forth herein.

      130. Defendants intentionally attempted to interfere with the exercise and

enjoyment of Plaintiff’s rights secured by the United States and Maine

Constitutions and the laws of the United States and the State of Maine.

      131. The aforementioned acts of Defendants caused Plaintiff harm.

      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendants, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of facts

sufficient to compensate Plaintiff.




                                         25
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      b.     Punitive damages in an amount sufficient to punish and deter

Defendants in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law.

      e.     Such further relief as the Court deems proper and just.

                       COUNT X - CIVIL CONSPIRACY

      132. Plaintiff herein incorporates each and every allegation and averment

contained in the paragraphs listed above as fully set forth herein.

      133. Defendants committed independently recognized torts contained

herein and/or violated Plaintiff’s clearly established statutory and constitutional

rights.

      134. Defendants acted in concert to commit aforementioned unlawful acts

through unlawful means and in bad faith.

      135. Defendants caused harm to Plaintiff.

      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendants, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of facts

sufficient to compensate Plaintiff.



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      b.     Punitive damages in an amount sufficient to punish and deter

Defendants in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law.

      e.     Such further relief as the Court deems proper and just.

              COUNT IX – VIOLATION of 30-A M.R.S.A. §1582

      136. Plaintiff herein incorporates each and every allegation and averment

contained in the paragraphs listed above as fully set forth herein.

      137. Maine law provides that pregnant inmates in correctional institutions

should not be clad in handcuffs absent the existence of extraordinary

circumstances.

      138. None of the extraordinary circumstances enumerated in the statute

exited with regard to Plaintiff.

      139. Defendants violated 30-A M.R.S.A. §1582 in their treatment of

Plaintiff.

      140. As a result of the violation Plaintiff suffered proximal injures

including physical and emotional pain and suffering, loss of life, loss of earnings,

and other injuries which are permanent and will continue into the future.




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      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendants, and award Plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier of facts

sufficient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

Defendants in the future from engaging in this form of malicious conduct.

      c.     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.     Costs and attorneys’ fees to the extent allowable by law.

      e.     Such further relief as the Court deems proper and just.

                                 JURY REQUEST

      Plaintiff hereby requests a jury trial.

Dated at Portland, Maine this 28th day of December, 2020.

                                                 By: Nichols & Churchill, PA

                                                 /s/ Sarah A. Churchill
                                                 Sarah A. Churchill, Esq.
                                                 Attorney for Plaintiff

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